Case 2:05-cV-02382-.]DB-STA Document 28 Filed 08/22/05 Page 1 ot 2 Page|D 19

 
  

 

IN THE UNITED STATES DISTRICT COURT F“ED 93 ”_ D.e.
FOR THE WESTERN DISTRICT oF TENNESSEE§ .
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Plainnff, WtD 13 _ '
v. No. 05-2382-B/An

NATIONAL BANK OF COMMERCE,
Defendant/Third-Party Plaintiff,

v.

SPECIALTY FOODS, LLC, and PAUL T. CAPPS,

Third-Party Defendant.

 

ORDER

 

On July 20, 2005, default was entered in favor of the Defendant/Ihird~Party Plaintiff,
National Bank of Commerce, against the Third-Party Defendants, Specialty Foods, LLC and
Paul T. Capps, pursuant to Rule 55(a), Federal Rules of Civil Procedure. Since that time, no
further action has been taken by National Bank of Commerce and the next step for conclusion
of the third-party claim is for the bank to take a default judgment against the Third-Party
Defendants.

Accordingly, the National Bank of Commerce is directed to proceed with a request for
default judgment in accordance with Fed.R.Civ.P. 55 Within eleven (11) days of the entry of this
order.

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IT ls so oRDERED this /‘i day ar August, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CV-02382 Was distributed by faX, mail, or direct printing on
August 22, 2005 to the parties listed.

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Honorable J. Breen
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